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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG


  UNITED STATES OF AMERICA,

                Plaintiff,

  v.                                               CRIMINAL ACTION NO. 3:02-CR-35-10
                                                   (JUDGE GROH)

  WILLIAM MATTHEW REDMAN,

                Defendant.


        ORDER GRANTING DEFENDANT’S MOTION TO CORRECT JUDGMENT

         On June 26, 2014, Defendant William Matthew Redman filed a “Motion to Correct

  Judgment.” In support of that motion, Defendant states that on June 10, 2014, Defendant

  appeared before this Court for a final hearing on a petition for revocation of supervised

  release. At that hearing, Defendant did not admit to the violations. Rather, Defendant

  admitted that should the United States present evidence on the matter, in light of the

  lowered burden of proof, the United States would prevail on the matter. On June 18, 2014,

  this Court entered judgment in this case, wherein Defendant “admitted guilt to violation of

  Standatory and Mandatory Conditions of the term of supervision.” [Doc. 923]. Therefore,

  Defendant moves this Court to correct its judgment to reflect that Defendant admitted that

  the United States would be able to present evidence on his alleged violations and prevail

  on the matter, but that Defendant did not admit guilt to the violations. Defendant’s counsel

  also represents that she has conferred with Assistant United States Attorney Paul

  Camilletti, and he consented to Defendant’s motion.

         Federal Rule of Criminal Procedure 35 provides that the Court may “[w]ithin 14 days
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  after sentencing . . . correct a sentence that resulted from arithmetical, technical, or other

  clear error.” However, as used in Rule 35, sentencing means “the oral announcement of

  the sentence.” Fed. R. Crim. P. 35(c). In this case, the Court sentenced Defendant on

  June 10, 2014. Defendant did not file his motion until June 26, 2014. Therefore, it is not

  within the fourteen day time period under Rule 35.

           However, Federal Rule of Criminal Procedure 36 provides that “[a]fter giving any

  notice it considers appropriate, the court may at any time correct a clerical error in a

  judgment.” A “conflict between the criminal judgment and all other record facts” is a

  “clerical error that should be corrected” pursuant to Rule 36. United States. v. Hernandez,

  No. 13-4452, 2014 WL 1328420, *1 (4th Cir. Apr. 4, 2014); see also United States v.

  Parker, 554 F. App’x 197, 200 (4th Cir. 2014) (remanded to the district court for the “limited

  purpose of correcting . . . clerical errors,” which were typographical and transcription

  errors).

           In this case, Defendant filed a motion pointing out that the sentence pronounced by

  the Court at the final hearing on the revocation of a petition for supervised release differed

  from the judgment order that was subsequently entered. The United States also consented

  in Defendant’s motion. Therefore, the parties have appropriate notice of the alleged clerical

  error.

           To determine whether a clerical error exists, this Court reviews the sentence as

  pronounced at Defendant’s final revocation hearing and the subsequently entered

  judgment. Defendant appeared in this Court on June 10, 2014, for a final hearing on a

  petition for revocation of supervised release.      At that time, the parties tendered an

  agreement to the Court. Assistant United States Attorney Paul Camilletti represented that

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  the parties reached an agreement wherein Defendant did not contest the allegations in the

  petition and the United States recommended twelve months and a day imprisonment

  followed by eighteen months of supervision. The Court accepted the parties’ agreement

  and noted that Defendant was not making admissions of guilt to the violations, but

  Defendant was admitting that the United States would be able to present sufficient

  evidence that would convince the Court that he had in fact committed the violations.

  However, the judgment order, entered on June 18, 2014, states that Defendant admitted

  guilt to the violations.

          Therefore, upon review of the Court’s sentence on the record at the final revocation

  hearing and the written judgment subsequently entered, the Court finds that the judgment

  order does not correctly reflect this Court’s sentence and that a clerical error in transcription

  has occurred. Accordingly, the Court GRANTS Defendant’s “Motion to Correct Judgment”

  [Doc. 930]. Pursuant to Federal Rule of Criminal Procedure 36, the Court will enter an

  amended judgment order reflecting that Defendant did not contest the allegations in the

  petition.

         It is so ORDERED.

         The Clerk is directed to transmit copies of this Order to all counsel of record.

         DATED: July 24, 2014




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